              Case: 11-1009           Document: 6           Page: 1      Filed: 10/22/2010

                                                                                                        Form 26

FORM 26. Docketing Statement



                      UNITED STATES COURT OF APPEALS
                         FOR THE FEDERAL CIRCUIT

                                          No. 2011-1009

                               Soverain Software LLC

                                                                                            U.S COURT OF APrT.r·' ~'=OR
                                                                                                     FILEDnr:"'   ·.. ~
                                                                                               THE fEDERAL CIRC 'tl
                                                       v.
                                                                                                  OCT 2 2 201
                               Newegg Inc.
                                                                                                    JANHORBAlY
                                                                                                       ClERK
                            DOCKETING STATEMENT
    This Docketing Statement must be completed by all counsel and filed with the court within
    14 days of the date of docketing. When the United States or its officer or agency is a party,
    this Docketing Statement must be completed by all counsel and filed with the court within
    30 days of docketing.

    Name of the party you represent _N_e_w_e....:g....:g:.__ln_c_._______________

    Party is (select one)            Ill AppellantJPetitioner          D Cross-Appellant
                                     D Appellee/Respondent             D Intervenor
    Tribunal appealed from and Case No. _E_.D_.T_e_x_a_s_O_?_-_cv_-_0_0_5_11_ _ _ _ _ _ _ _ __

    Date of Judgment/Order 9/11/2010; 10/1/2010 Type of Case Patent Infringement
                                Reversal and rendition of judgment of non-infringement, alternatively rendition
    Relief sought on appeal of judgment for $soo. ooo. alternatively remand with instructions for new trial on
                                damages only, or alternatively remand with instructions for new trial on all issu s



    Relief awarded below (if damages, specify) - - - - - - - - - - - - - - - - -
    $2.5 million in damages, plus interest and costs, plus running royalty of $0.15 per transaction.

    Briefly describe the judgment/order appealed from
    Final Judgment and post-judgment denial of motions for judgment as a matter of law
    and new trial under Fed. R. Civ. P. SO(b) and Fed. R. Civ. P. 59.




                                                                                                             153
                    Case: 11-1009          Document: 6         Page: 2       Filed: 10/22/2010


Form 26

  FORM 26. Docketing Statement (continued)




      Nature of judgment (select one)

             [l] Final Judgment, 28 USC 1295

             D Rule 54(b)
              D Interlocutory Order (specify t y p e ) - - - - - - - - - - - - - - - -
             D Other (explain; see Fed. Cir. R. 28(a)(5)) - - - - - - - - - - - - -


      Name and docket number of any related cases pending before this court plus the name of the
      writing judge if an opinion was issued


        None


      Brief statement of the issues to be raised on appeal - - - - - - - - - - - - - - -
      Whether defendant was entitled to judgment as a matter of law or a new trial on
      liability and damages. Whether plaintiff is entitled to damages, and if so, how much.



      Have there been discussions with other parties relating to settlement of this case?

                                                                               el Yes      D No
      If "yes," when were the last such discussions?

             D Before the case was filed below?
             ll] During the pendency of the case below?

             D Following the judgment/order appealed from?
      If "yes," were the settlement discussions mediated?                      el Yes      D No
      If they were mediated, by w h o m ? - - - - - - - - - - - - - - - - - - - -
      Some of the settlement discussions were mediated by Mike Patterson, 515 South Vine, Tyler, TX 75702.




154
              Case: 11-1009          Document: 6      Page: 3      Filed: 10/22/2010

                                                                                             Form 26

FORM 26. Docketing Statement (continued)


    Do you believe that this case may be amenable to mediation?          DYes       Ill No
    If you answered no, explain why n o t - - - - - - - - - - - - - - - - - - - -

    The parties have entered into multiple mediation discussions during the pendency of the
    present litigation. The outcome of these negotiations and discussions have resulted in an
    impasse that appears irreconcilable.

    Provide any other information relevant to the inclusion of this case in the court's mediation
    program. ________________________________________________________




    I certify that I filed an original and one copy of this Docketing Statement with the Clerk of
    the United States Court of Appeals for the Federal Circuit and served a copy on counsel of
    record, this 21st         day of October                       _2_01_0_ __

    by: electronic mail
                                           (manner of service)


     Kent E. Baldauf, Jr.
             Name of Counsel                                       Signature of C


    Law Firm The Webb Law Firm

    Address 700 Koppers Building, 436 Seventh Avenue

    City, State, ZIP Pittsburgh, PA 15219

    Telephone Number _(4_1_2..;..)_4_7_1-_8_8_15_ _ _ _ _ _ _ __

    FAX Number {412) 471-4094

    E-mail Address kbaldaufjr@webblaw.com




                                                                                                155
